                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
       Plaintiff,                              )
                                               )
       v.                                      )         No. 10-00320-14-CR-W-DGK
                                               )
RAFAEL ZAMORA,                                 )
                                               )
       Defendant.                              )

                                            ORDER

       Pending before the Court are Defendant’s Motion to Suppress (Doc. 251), the

Government’s response (Doc. 263), United States Magistrate Judge Robert E. Larsen’s Report

and Recommendation recommending that the motion be denied (Doc. 333) and the Defendant’s

objections to the Report and Recommendation (Doc. 351). The Court has also fully reviewed the

motion hearing transcript (Doc. 309).

       After carefully reviewing the Magistrate’s report and conducting an independent review

of the record and applicable law, it is hereby ORDERED that Magistrate Judge Larsen’s Report

and Recommendation be ADOPTED. Defendant’s Motion to Suppress (Doc. 251) is hereby

DENIED.

       IT IS SO ORDERED.

Date: November 22, 2011                         /s/ Greg Kays
                                               GREG KAYS, JUDGE
                                               UNITED STATES DISTRICT COURT




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